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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                            STATESBORO DIVISION




UNITED STATES OF AMERICA


       V.                                       CR 696-004


KYLE MICHAEL BREWER




                                  ORDER




       In July 1996, Defendant Kyle Michael Brewer was found guilty

by a jury in a large-scale drug conspiracy.                 The Presentence

Investigation Report attributed 1.925 kilograms of cocaine base to

him.     Using this amount, it was determined that Defendant's base

offense level was 39.       After applying enhancements for his role in

the offense and obstruction of justice, his total offense level

was 45.     The offense level of 45 and a criminal history category

of I yielded a guideline term of life imprisonment.               On October

11, 1996, Defendant was sentenced to life imprisonment, plus a

consecutive mandatory minimum term of 60 months for his conviction

for use of firearm during a drug trafficking crime.

       In 2012, it was determined that Defendant's total offense

level on     the   drug   conviction   was   lowered   to 41 based     upon a

subsequent change to the applicable sentencing guidelines.^                  The


^ Defendant's total offense level had previously been reduced from 45 to 43
pursuant to amendments to the crack cocaine Sentencing Guidelines; however, the
amended guideline range remained life imprisonment. (See Doc. 850.)
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amended guideline range became 324 to 405 months.            However, upon

consideration of the factors listed in 18 U.S.C. § 3553(a), the

Honorable     B.   Avant   Edenfield   declined   to   reduce   Defendant's


sentence. (Doc. 991.)

      On September 8, 2015, the Court again considered a reduction

of sentence because the applicable offense level for his drug

conviction was again reduced.        This time Defendant's total offense

level was lowered to 39 with an amended guideline range of 262 to

327 months. Upon consideration of the § 3553(a) factors, the

Honorable Dudley H. Bowen, Jr., reduced his sentence to 327 months.

(Doc. 1115.)       The 60-month consecutive sentence for the firearm

conviction remained unchanged.         Thus, Defendant's total term of

imprisonment became and is 387 months.

      On February 8, 2019, Defendant filed a motion to reduce his

sentence pursuant to the First Step Act of 2018, Pub. L. No. 115-

391, 132 Stat. 5194.        Section 404 of the First Step Act is the

only provision that applies retroactively to defendants who have

already been sentenced.        Section 404 allows for a reduction of

sentence based on the revised statutory penalties of the Fair

Sentencing Act of 2010, if such reduction was not previously

granted.     In other words. Section 404 of the First Step Act allows

the court to reduce a previously imposed sentence "as if sections

2 and 3 of the Fair Sentencing Act of 2010 . . . were in effect at

the   time   the   covered offense   was committed."     Section 2 of       the
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Fair     Sentencing    Act     increased       the   drug      amounts    triggering

mandatory minimums for crack trafficking offenses.                   Section 3 of

the Fair Sentencing Act eliminated the five-year mandatory minimum

sentence for simple possession of crack cocaine.

       In this case, Defendant was sentenced under the United States

Sentencing     Guideline      range applicable         to his offense       conduct

involving 1.925 kilograms of cocaine base.                  Indeed, the amount of

crack cocaine involved in Defendant's offense was far in excess of

even the increased quantities necessary to trigger a statutory

mandatory minimum sentence.            Thus, the Fair Sentencing Act of 2010

would have had no effect on his sentence.                  Accordingly, the Court

denied Defendant's motion to reduce sentence pursuant to the Fair

Step Act.

       At present. Defendant has filed a motion for reconsideration,

arguing that the amount of cocaine attributable to him should be

reduced to 346.5 grams, or 18% of the 1.925 kilograms originally

attributed      to    him.         Defendant      presumably    arrives    at    this

calculation because the Fair Sentencing Act of 2010 modified the

100-1 powder cocaine to crack ratio existing in the law at the

time of Defendant's sentencing to an 18-1 ratio.^                   To accomplish

this    reduction     of     the    powder   to    crack    disparity,     the   Fair

Sentencing Act amended 21 U.S.C. § 841 by increasing the amount of


2 Stated another way, it takes approximately 18 times as much powder cocaine as
crack to trigger a given statutory minimum sentence or guidelines base offense
level; under prior law, the ratio was 100 to 1.
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cocaine base required to trigger mandatory minimum sentences.                          The

Fair    Sentencing     Act     also    gave     the   United       States       Sentencing

Commission emergency authority to amend the Drug Quantity Table in

U.S.S.G. § 2D1.1, which establishes the base offense level for

drug offenses.        Here, Defendant has already received the benefit

of amendments to the Drug Quantity Table from a prior determination

that his amended guideline range was reduced, even though Judge

Edenfield     exercised      his      discretion      to    deny     any        reduction.

Defendant also received the benefit of another amendment to the

Drug Quantity Table in 2015 when Judge Bowen reduced his sentence

to   387    months.     Using      the   1.925    kilogram       amount,        the   Court

determined that Defendant's total offense level was 39 in 2015.

Using this same amount today. Defendant's total offense level

remains 39.


       In short. Defendant's contention on reconsideration that the

amount of cocaine base attributable to him must somehow be reduced

is simply erroneous.           That is simply not how the changes in the

law were effected.


       At   the    conclusion      of     his    motion      for    reconsideration.

Defendant states that he wishes to present evidence respecting the

factors of 18 U.S.C. § 3553(a) for resentencing purposes.                          Because

the First Step Act of 2018 does not change the current advisory

guidelines        applicable     to      Defendant,        and     upon     a     thorough

consideration of the nature and circumstances of the offense, as
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well as the history and characteristics of this Defendant, the

Court is not persuaded to reduce his sentence and therefore a

hearing is not warranted.

     Upon the foregoing, Defendant's motion for reconsideration

(doc. 1172) is DENIED.

     ORDER ENTERED at Augusta, Georgia, this                     of June,

2019.




                                                           [lEF JUDGE
                                       UNITED           DISTRICT COURT
                                       SOUTHE     DISTRICT OF GEORGIA
